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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF MISSISSIPPI

JASON ROLLINS AND ERIC POWELL                                                        PLAINTIFFS

VS.                                                                    1:18cv198-GHD-DAS
                                                             CAUSE NO. ___________________

EDWARD FITTS AND
E & J TOURS, LLC                                                 DEFENDANTS
______________________________________________________________________________

                                 COMPLAINT
_____________________________________________________________________________

       COMES NOW, the Plaintiffs, Jason Rollins and Eric Powell, by and through counsel,

James R. Franks, Jr. and William R. Wheeler, Jr., Wheeler & Franks Law Firm, P.C., and files

this their Complaint against the Defendants, Edward Fitts and E & J Tours, LLC, and in support

thereof would show unto the Honorable Court as follows, to-wit:

                                                1.

       The Plaintiff, Jason Rollins, is an adult resident citizen of Lee County, Mississippi.

                                                2.

       The Plaintiff, Eric Powell, is an adult resident citizen of Itawamba County, Mississippi.

                                                3.

       That the Defendant, Edward Fitts may be served with process at his place of residence

located at 3040 33 Road Court, North, Birmingham, Alabama 35207, or, in the alternative,

wherever he may be found.

                                                4.

       That the Defendant, E & J Tours, LLC may be served with process by and though its

registered agent, Edward Fitts, at 3403 11th Avenue, North, Birmingham, Alabama 35234, or, in

the alternative, wherever he may be found.
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                                                 5.

        This is an action between citizens of two different states and involves money damages in

excess of $75,000.00. Consequently, subject matter jurisdiction exists in the federal courts.

                                                 6.

        This court is an appropriate venue for this action because a substantial portion of the

events which gave rise to this action occurred in whole or in part within this district.

                                                 7.

        That on or about August 11, 2018, the parties herein were involved in a motor vehicle

accident in Lee County, Mississippi.

                                                 8.

        At all times herein mentioned, Defendant, Edward Fitts, was the operator and owner of

the other motor vehicle in the incident referenced herein.

                                                 9.

        On August 11, 2018, the Plaintiffs were traveling North on U.S. Highway 371 when the

vehicle driven by Defendant, Edward Fitts, pulled out in front of Plaintiffs’ vehicle while

attempting to make a left-hand turn causing damage to the Plaintiffs’ vehicle and serious injury

to the Plaintiffs.

                                                 10.

        Plaintiff, Eric Powell, the driver of the vehicle at all times during the occurrence

hereinbefore set forth, used due care and caution and was completely free from any and all

negligence in any manner contributing to the Plaintiffs’ injuries and damages as herein

complained of.
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                                                11.

        Said collision was the proximate cause of property damage to the Plaintiffs’ vehicle and

the serious injuries to the Plaintiffs.

                                                12.

        Due to the careless, reckless and negligent actions of the Defendant, Edward Fitts, said

vehicle was involved in a violent collision whereby as a proximate result thereof, Plaintiffs

sustained severe injuries.

                                                13.

        In addition to the above-mentioned acts of negligence, the collision was caused by one or

more of the following acts of negligence on the part of the Defendant, Edward Fitts:

            a. Failure to maintain his vehicle and/or property as to avoid collisions with others;

            b. Operating the vehicle in an unsafe, unreasonable, reckless, or indiscriminate

                manner without due regard for the safety of others, including the Plaintiffs;

            c. Any and all other negligent acts and/or omissions which may be shown during the

                course of these proceedings.

                                                14.

        As a result of the aforesaid collision, Plaintiffs, Jason Rollins and Eric Powell, suffered

physical injuries requiring medical treatment and temporary disability.

                                                15.

        As a result of the aforesaid collision, Plaintiffs suffered emotional trauma and distress

and incurred expenses and lost income.
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                                                16.

       As a result of the aforesaid collision, Plaintiffs will continue to suffer the aforesaid

damages and, further will continue to incur medical expenses in the future.

                                                17.

       As a proximate cause of the negligence of the Defendant, Plaintiffs suffered serious

injuries and has had to endure pain and suffering, mental anguish, mental stress, medical

expenses, property damage, and future undetermined medical expenses.

       WHEREFORE, PREMISES CONSIDERED, the Plaintiffs, Jason Rollins and Eric

Powell, seeks and demands judgment against the Defendants in an amount sufficient to

compensate the Plaintiffs, along with punitive damages in an amount to be determined by the

Court, and any and all other damages incurred by the Plaintiffs plus all costs accrued herein.

       Plaintiffs demands trial by Jury.

       Respectfully submitted, this the 7th day of November, 2018.

                                             JASON ROLLINS and ERIC POWELL, Plaintiffs

                                                  /s/ James R. Franks, Jr.
                                       BY:_________________________________ __________
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